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                                                           December 4, 2020


The Honorable Alison J. Nathan
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

         Re: United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

        Per the Court’s order (Dkt. 81), the parties have conferred regarding the briefing schedule
for Ghislaine Maxwell’s renewed motion for release on bail. The defense respectfully requests
that the hearing take place before the holidays and the government is amenable to that schedule.
Accordingly, the parties propose the following briefing schedule:

         Defense submission:           December 7, 2020
         Government response:          December 16, 2020
         Defense reply due:            December 18, 2020
         Hearing:                      December 21, 2020 (subject to the Court’s availability)

        Per the Court’s order, the defense will send our submissions to the Court under seal on
the dates mentioned above and will include a proposed redacted version of the submission to be
filed on the docket for the Court’s consideration. We ask that the Court order the government to
follow the same procedure for its submission.

        Also, although the Court’s Individual Practices in Criminal Cases do not contain a page
limit for motions, we are mindful of the Court’s 25-page limit for civil motions. In light of the
numerous topics the defense must cover in connection with the renewed bail application, the
defense respectfully requests leave to file a motion not to exceed 40 pages. The defense does not
object to the government receiving a similar enlargement of pages to respond.

         Your consideration is greatly appreciated.
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                                                 Respectfully submitted,




                                                    /s/ Christian R. Everdell
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  cc:   All counsel of record (via email)
